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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                       GAINESVILLE DIVISION

DYLAN EGLESTON, individually and
on behalf of all others similarly situated,
      Plaintiff,
v.                                                   Case No. 1:20-cv-106-AW-GRJ
UNIVERSITY OF FLORIDA BOARD
OF TRUSTEES, as the public body
corporate of University of Florida, and
FLORIDA BOARD OF GOVERNORS
FOUNDATION, INC.,
     Defendants.
_______________________________/
                       ORDER REGARDING SCHEDULE

      After the original parties had their planning conference and submitted their

Rule 26(f) report (ECF No. 15), the court entered its scheduling and mediation order

(ECF No. 20). The same day, Plaintiff filed an amended complaint, which included

a new defendant, the Florida Board of Governors Foundation, Inc. (ECF No. 19).

The new party was served and has now appeared (ECF Nos. 32, 33).*

      The parties must promptly confer and discuss the matters set out in Rules

16(b)(3)(A), 16(b)(3)(B), 16(c)(2), 26(f)(2), and 26(f)(3). No later than September

16, 2020, they must file a notice indicating (i) that they have done so and (ii) whether,


      *
       The notices of appearance say the entity is actually the Florida Board of
Governors and was improperly named as the Florida Board of Governors
Foundation, Inc. ECF Nos. 32, 33.
                                           1
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in light of the addition of a new defendant, any changes to the existing schedule are

appropriate.

      SO ORDERED on August 26, 2020.

                                       s/ Allen Winsor
                                       United States District Judge




                                         2
